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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 BIOFRONTERA AG,

                          Plaintiff,
                                                       Civil Action No. 18-cv-5237
         v.
                                                       Jury Trial Demanded
 DEUTSCHE BALATON AG, AXXION,
 S.A., DELPHI
 UNTERNEHMENSBERATUNG AG, VV
 BETEILIGUNGEN AG, ABC
 BETEILIGUNGEN AG, DEUTSCHE
 BALATON BIOTECH AG, and WILHELM
 KONRAD THOMAS ZOURS

                          Defendants.



                                           COMPLAINT

        Plaintiff Biofrontera AG (“Plaintiff” or “Biofrontera”) by its undersigned counsel alleges

upon knowledge to itself and its own acts, and upon information and belief as to all other matters,

as follows:

                                          INTRODUCTION

        1.       Defendants Deutsche Balaton AG (“Deutsche Balaton”), Wilhelm Konrad Thomas

Zours (“Zours”), DELPHI Unternehmensberatung AG (“DELPHI”), VV Beteiligungen AG

(“VVB”), ABC Beteiligungen AG (“ABC”), Deutsche Balaton Biotech AG (“DB Biotech”), and
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Axxion S.A. (“Axxion”) (collectively, “Defendants”) have engaged in a series of willful illegal

acts that damaged Biofrontera and its shareholders, officers, directors and other stakeholders.

       2.      Zours, who controls, directly or indirectly, DELPHI, VVB, Deutsche Balaton,

ABC, and DB Biotech, is a major beneficial owner of shares of Biofrontera. Zours owns greater

than 50% of the shares of DELPHI, DELPHI owns greater than 50% of the shares of VVB, VVB

owns greater than 50% of the shares of Deutsche Balaton, and Deutsche Balaton owns 100% of

the shares of both DB Biotech and ABC.

       3.      Biofrontera’s American Depositary Shares (“ADSs”), each representing two of its

shares, are registered under the United States Securities Exchange Act of 1934, as amended (the

“34 Act”), and the ADSs are traded in New York on The NASDAQ Capital Market. The actions

of Defendants violated U.S. federal and state law, as detailed below.

       4.      On February 6, 2018, Deutsche Balaton and Zours published to third parties on

Deutsche Balaton’s website a defamatory letter that contained multiple statements that Deutsche

Balaton and Zours knew were false, including claims that Biofrontera’s chief executive officer and

chief financial officer were unfit for duty and had engaged in criminal activity. This letter was

carefully timed to injure Biofrontera, as it was published while Biofrontera’s management was

participating in a lengthy road show to present the public offering of ADSs (the “U.S. IPO”) to

potential investors in the United States. Notwithstanding such interference and injury, the U.S.

IPO closed and the ADSs began trading on The NASDAQ Capital Market on February 14, 2018.

       5.      Deutsche Balaton publicly announced a tender offer for Biofrontera shares on

March 16, 2018. The stated intention of the tender offer was to exceed the “blocking” minority

threshold of 25% of Biofrontera’s shares. German regulatory authorities did not allow this tender

offer to proceed because it did not comply with German law.



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       6.      Separate from Deutsche Balaton’s prohibited tender offer, upon information and

belief, Zours, DELPHI, ABC, VVB and Deutsche Balaton agreed with Axxion to form a group for

the purpose of acquiring, holding, and/or voting shares of Biofrontera. Defendants acquired or

held shares of Biofrontera for the purpose of effecting or influencing control of Biofrontera. When

two or more persons act as a group “for the purpose of acquiring, holding, or disposing of securities

of an issuer,” the group is deemed to be a person under Section 13(d)(3) of the 34 Act. Each

member of the group is deemed to have acquired beneficial ownership of all shares of the issuer

owned by any member of the group. Upon information and belief, Deutsche Balaton, Zours,

DELPHI, ABC, VVB and Axxion acted as a group for the purpose of acquiring or holding shares

of Biofrontera and should have filed with the U.S. Securities and Exchange Commission’s (“SEC”)

a beneficial ownership report on a Schedule 13D, which they have not done.

       7.      Zours, DELPHI and Deutsche Balaton each have a beneficial ownership of greater

than 5% of Biofrontera’s shares, and, upon information and belief, Zours, DELPHI and Deutsche

Balaton together have increased the percentage of Biofrontera’s shares over which they exercise

voting power by more than 5% of Biofrontera’s total outstanding shares since the completion of

Biofrontera’s U.S. IPO and registration of Biofrontera’s shares under Section 12 of the 34 Act.

This makes Zours and Deutsche Balaton subject to Section 13(d)(1) of the 34 Act and SEC

Regulation 13D-G. Pursuant to Section 13(d)(1) and the SEC’s Rule 13d-1(a), Zours and Deutsche

Balaton were required to file a beneficial ownership report on Schedule 13D with the SEC within

10 days after acquiring at least 2% of Biofrontera’s shares following registration of Biofrontera’s

shares under Section 12 of the 34 Act, but to date have not done so.

       8.      Further, Zours, Deutsche Balaton, DELPHI, ABC, VVB, and Axxion, despite

acquiring or holding Biofrontera’s shares with a purpose or effect of changing or influencing



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control of Biofrontera, never filed a beneficial ownership report on Schedule 13D (or amendment

thereto) with the SEC, which they were required to do within 10 days after acquiring at least 2%

of Biofrontera’s shares following registration of Biofrontera’s shares under Section 12 of the 34

Act. Their failure to do so has deceived U.S. investors by not providing them with information

regarding the group’s holdings and their purpose or effect of changing or influencing control of

Biofrontera.

       9.      Until they file a compliant Schedule 13D with the SEC, and for a further six months

after such filing, Zours, DELPHI, ABC, VVB, Deutsche Balaton, and Axxion, and their affiliates

should be barred from taking advantage of their violation and the Court should award curative

relief as set forth in the Complaint.

       10.     Deutsche Balaton’s illegal conduct continued on May 28, 2018. Specifically,

Deutsche Balaton directed its wholly-owned subsidiary DB Biotech to publicly announce and

launch another tender offer that all holders of ADSs in the United States are able to access, receive,

review and participate in. As part of the offer, DB Biotech offered to purchase up to 6,250,000

Biofrontera shares in exchange for per-share consideration consisting of one euro plus an option

entitling the holder thereof to purchase a Biofrontera share for the price of one euro. The option

offered by DB Biotech is a complex security that, combined with the one euro consideration, has

the effect of separating the voting power of tendered Biofrontera shares from exposure to the

economic value of those shares. Upon information and belief, the offer documents were drafted

to allow for participation by U.S. investors because under German law, all of Biofrontera’s

shareholders, wherever located, must be permitted to participate in the offer. U.S. ADSs holders

could participate in the offer simply by exchanging their ADSs for Biofrontera’s ordinary shares

pursuant to Biofrontera’s Deposit Agreement with The Bank of New York. The offer was



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published on Deutsche Balaton’s website, and Deutsche Balaton has taken no measures to prevent

U.S. investors from accessing the offer documents.

        11.     In addition, NASDAQ rules require Biofrontera to disclose promptly to the U.S.

market the receipt of any tender offer for its listed shares; NASDAQ’s preferred method for this

disclosure is a press release. Biofrontera disclosed the receipt of the tender offer via a press release,

as required. Upon information and belief, as a sophisticated investor, Zours knew of these

publicity requirements, and used them to force Biofrontera to indirectly publicize the existence of

the tender offer in the United States.

        12.     Pursuant to Section 5 of the U.S. Securities Act of 1933, as amended (the “33 Act”),

unless a registration statement is in effect as to a security, it is unlawful for any person, directly or

indirectly, to make use of any means or instruments of interstate commerce in order to sell or offer

for sale such security. The tender offer constitutes a public offering of the options forming part of

the tender offer consideration in the U.S., as U.S. ADSs holders can participate by exchanging

ADSs for Biofrontera’s ordinary shares, and DB Biotech has taken no action to register the options

forming part of the proposed tender offer consideration with the SEC. When deciding whether to

exchange their Biofrontera shares for the complex option to be issued by DB Biotech, U.S.

investors should have the benefit of complete disclosures required to be included in a registration

statement under the 33 Act and related SEC rules.

        13.     Moreover, no exemption from the registration requirements of Section 5 of the 33

Act will be available to DB Biotech in connection with its tender offer because (a) DB Biotech is

required under German law to accept tenders from all holders of its shares, including holders of

ADSs who exchange their ADSs for shares in order to tender them, wherever they are located and

regardless of whether they qualify as “accredited investors” as defined under applicable SEC rules



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and regulations and (b) DB Biotech has taken no measures to prevent U.S. investors from accessing

the offer materials available on Deutsche Balaton’s website even though it is a wholly-owned

subsidiary of a sophisticated investor, Deutsche Balaton, which presumably knew that Biofrontera

must publicize the receipt of the tender offer in the U.S.

       14.     Because Deutsche Balaton Biotech AG has not registered the options comprising

part of the tender offer consideration and because no exemption from registration will be available,

the tender offer violates Section 5 of the 33 Act.

       15.     The same day as the May 28, 2018 tender offer, Deutsche Balaton and Zours

launched another defamatory attack on Biofrontera. Deutsche Balaton and Zours published an

open letter to Biofrontera supervisory board member John Borer on Deutsche Balaton’s website

that was accessible to all, including U.S. holders of Biofrontera’s ADS. That letter contained a

number of false and misleading statements regarding Mr. Borer, Biofrontera’s chief executive

officer Dr. Hermann Lübbert, and Biofrontera’s chief financial officer Thomas Schaffer, including

claims that the U.S. IPO was unlawfully conducted.

                                 JURISDICTION AND VENUE

       16.     This action arises under Section 13(d) of the 34 Act (15 U.S.C. § 78m(d)), Section

14(e) of the 34 Act (15 U.S.C. § 78n(e)), Section 20(a) of the 34 Act (15 U.S.C. § 78t(a)), and the

rules and regulations promulgated thereunder.

       17.     Jurisdiction over the subject matter of this action is based upon 28 U.S.C. § 1331

and Section 27 of the 34 Act (15 U.S.C. § 78aa). Jurisdiction of the subject matter state law claims

(Counts I – III), is based upon 28 U.S.C. § 1367.

       18.     Personal jurisdiction over Defendants for Biofrontera’s 34 Act claims (Counts IV,

V, VI, and VII) is based on 15 U.S.C. § 78aa. Personal jurisdiction over Deutsche Balaton and

Zours for Biofrontera’s state law claims (Counts I – III) is based on pendant personal jurisdiction

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because Biofrontera’s state law claims derive from the same common nucleus of operative facts

as Biofrontera’s 34 Act claims. Further, this Court has personal jurisdiction over all Defendants

because each of the Defendants directed the conduct described in this Complaint towards the

United States (the forum state), impacting the value of the ADSs, which trade on NASDAQ, and

because Deutsche Balaton indirectly owns a controlling share of Beta Systems Software of North

America, Incorporated, a McLean, Virginia-based corporation. Jurisdictional discovery in this

action shall reveal additional information regarding Defendants’ jurisdictional actions.

       19.     Venue in this district is proper pursuant to Section 27 of the 34 Act (15 U.S.C. §

78aa) and 28 U.S.C. § 1391(d).

       20.     Declaratory relief is appropriate pursuant to 28 U.S.C. § 2201 because an actual

controversy exists regarding the propriety of Defendants’ actions and their failure to make required

disclosures under Section 13(d) of the 34 Act, their violation of SEC Rule 14e-5(a) by purchasing

Biofrontera shares during its subsidiary’s tender offer, and their violation of Section 14(e) of the

34 Act by making untrue and misleading statements of material fact and employing fraudulent,

deceptive, and manipulatives acts and practices in connection with DB Biotech’s tender offer.

                                         THE PARTIES

       21.     Plaintiff Biofrontera AG is a German stock corporation with headquarters in

Leverkusen, Germany. The U.S. headquarters of its wholly-owned U.S. subsidiary, Biofrontera

Inc., is in Wakefield, Massachusetts. Biofrontera AG is an international biopharmaceutical

company specializing in the development and commercialization of pharmaceutical products for

the treatment of dermatological conditions and diseases caused primarily by exposure to sunlight.

Biofrontera’s approved products focus on the treatment in the U.S. and Europe of actinic keratoses,

which are skin lesions that can sometimes lead to skin cancer, as well as the treatment of certain

forms of basal cell carcinoma in the European Union. A majority of the revenue of Biofrontera

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and its subsidiaries is derived from the U.S. business and operations and the percentage of revenue

generated in the U.S. is expected to grow. On February 14, 2018, Biofrontera completed its United

States initial public offering of ADSs, which trade on The NASDAQ Capital Market.

       22.     Defendant Zours, directly or indirectly, controls Defendants DELPHI, VVB,

Deutsche Balaton, ABC, and DB Biotech. Zours owns greater than 50% of the shares of Defendant

DELPHI, a corporation based in Heidelberg, Germany. DELPHI owns greater than 50% of the

shares of Defendant VVB, a corporation based in Heidelberg, Germany. VVB owns greater than

50% of the shares of Defendant Deutsche Balaton, an investment fund based in Heidelberg,

Germany. Deutsche Balaton owns 100% of both Defendant DB Biotech and Defendant ABC,

corporations based in Heidelberg, Germany. According to public filings made in Germany by

Deutsche Balaton, Zours beneficially owns 15.04% of Biofrontera’s shares, including 9.18%

beneficially owned by Deutsche Balaton, 5.81% beneficially owned by DELPHI, and the

remainder beneficially owned by ABC. Deutsche Balaton, DELPHI, ABC, and Zours, by acting

in concert with Axxion to acquire, hold, and/or vote Biofrontera’s shares, is deemed to beneficially

own an additional 3.59% of the shares of Biofrontera.

       23.     Deutsche Balaton owns 53% of Beta Systems Software AG based in Berlin,

Germany. Beta Systems Software AG owns 100% of Beta Systems Software of North America,

Inc. based in McLean, Virginia.

       24.     Axxion is an investment fund based in Grevenmacher, Luxembourg. Axxion owns

3.59% of Biofrontera’s shares. Axxion is managed by Gregor Zours, who upon information and

belief is the cousin of Zours.




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                                              FACTS

       Zours and Deutsche Balaton’s Unlawful Efforts to Control Biofrontera Through
                         Defamation of its Directors and Officers

        25.    Zours and Deutsche Balaton have long been interested in investing in Biofrontera

based on the company’s value and potential for growth. However, Zours and Deutsche Balaton

have repeatedly attempted to control Biofrontera without obtaining a controlling stake in the

company. Thus, Zours and Deutsche Balaton have begun and continue a campaign to injure

Biofrontera and its officers, directors and other stakeholders without actually obtaining control.

        26.    In February 2018, Biofrontera participated in an extensive road show throughout

the U.S., in which Biofrontera representatives met with potential investors. This was a critical

period in the U.S. IPO process, as the number and level of interest of potential purchasers would

directly correlate with the U.S. IPO price.

        27.    It was precisely because of the importance of the U.S. road show that Deutsche

Balaton and Zours launched their defamatory and illegal attack during the road show. Specifically,

on February 6, 2018, Zours and Deutsche Balaton published a letter on Deutsche Balaton’s website

that was accessible to all, including potential investors in the U.S. IPO, that contained a number

of false and misleading statements, including but not limited to the following:

       Biofrontera’s decision to allow the setting of the U.S. IPO subscription price to take place
        on Friday, February 9, 2018 was “contrary to the law and unethical”,

       Biofrontera’s chief financial officer Thomas Schaffer “misled the shareholders at the 2017
        Shareholder’s General Meeting” concerning the terms of a company loan, that Mr.
        Schaffer’s actions were unethical and contrary to law,” and that he is unable to serve as
        chief financial officer,

       Biofrontera “deceitfully” withheld confirmation about a research partnership with Maruho,

       Biofrontera’s chief executive officer Dr. Hermann Lübbert provided “internal company
        information” to Maruho and thus is “liable to prosecution”.



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       28.       These statements were published on the Internet and accessible by prospective

purchasers of Biofrontera’s ADS in the U.S. IPO during the U.S. road show in February 2018.

These statements are all false and misleading and were published by Zours and Deutsche Balaton

with negligence and/or actual malice.

       29.       Deutsche Balaton and Zours launched another defamatory attack on Biofrontera on

May 28, 2018. On Deutsche Balaton’s website, Deutsche Balaton and Zours published an open

letter to Biofrontera supervisory board member John Borer accessible to U.S. holders of

Biofrontera’s ADS. The letter contained a number of false and misleading statements regarding

Biofrontera, Mr. Borer, Mr. Schaffer, and Dr. Lübbert, including but not limited to the following:

                The bookbuilding process in the U.S. was “only a fake bookbuilding”

                The U.S. IPO involved an “unlawful share placement at a 30% discount to market
                 price.”

                In the U.S. IPO, Dr. Lübbert did “not accept[] higher bids for shares than 4 Euro to
                 stop . . . egoistic shareholders from taking advantage of the company and the other
                 Biofrontera shareholders.”

       30.       These statements were published on the Internet and accessible by all U.S. holders

of Biofrontera’s ADS. These statements are false and misleading and were published by Deutsche

Balaton and Zours with negligence and/or actual malice.

Deutsche Balaton Engaged in a Continuing Violation of Section 13(d) by Failing to Reveal
             its Ownership Interest in Biofrontera in a Schedule 13D Filing

       31.       Section 13(d)(1) of the 34 Act mandates that any person who after acquiring

directly or indirectly the beneficial ownership of more than 5% of a class of equity securities of an

issuing corporation when such class has been registered under Section 12 of the 34 Act, within 10

days after such acquisition, must file with the SEC a beneficial ownership report on Schedule 13D

and send the statement to the issuer. Both Zours and Deutsche Balaton have failed to so file or

send the required Schedule 13D.

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       32.     Section 13(d)(6)(B) of the 34 Act provides that shareholders who beneficially own

5% or more of a class of shares at the time such class becomes subject to Section 13(d)(1) need

not comply with Section 13(d)(1) until such shareholders purchase more than 2% of such class of

shares in a given 12-month period. Because both Zours and Deutsche Balaton have acquired

beneficial ownership of more than 2% of Biofrontera’s shares since Biofrontera completed its U.S.

IPO, they may not take advantage of the Section 13(d)(6)(B) exemption.

       33.     Among the information that must be provided on Schedule 13D is:

               “(B) the source and amount of the funds or other consideration
               used or to be used in making the purchases, and if any part of the
               purchase price is represented or is to be represented by funds or
               other consideration borrowed or otherwise obtained for the purpose
               of acquiring, holding, or trading such security, a description of the
               transaction and the names of the parties thereto ...;”

               “(C) if the purpose of the purchases or prospective purchases is to
               acquire control of the business of the issuer of the securities, any
               plans or proposals: which such persons may have to liquidate such
               issuer, to sell its assets to or merge it with any other persons, or to
               make any other major change in its business or corporate structure;”

               “(D) the number of shares of such security which are beneficially
               owned, and the number of shares concerning which there is a right
               to acquire, directly or indirectly, by (i) such person, and (ii) by each
               associate of such person, giving the background, identity, residence,
               and citizenship of each such associate;” and

               “(E) information as to any contracts, arrangements, or
               understandings with any person with respect to any securities of the
               issuer, including but not limited to transfer of any of the securities,
               joint ventures, loan or option arrangements, puts or calls, guaranties
               of loans, guaranties against loss or guaranties of profits, division of
               losses or profits, or the giving or withholding of proxies, naming the
               persons with whom such contracts, arrangements, or understandings
               have been entered into, and giving the details thereof.”

       34.     When two or more persons act as a group “for the purpose of acquiring, holding, or

disposing of securities of an issuer,” the group is deemed to be a person under Section 13(d)(3) of

the 34 Act. Each member of the group is deemed to have acquired beneficial ownership of all

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shares of the issuer owned by any member of the group. Upon information and belief, Deutsche

Balaton, Zours, DELPHI, ABC, VVB and Axxion acted as a group for the purpose of acquiring,

holding, and/or voting shares of Biofrontera. In February 2016, Deutsche Balaton and Biofrontera

negotiated that Deutsche Balaton would purchase a total of approximately 2.4 million shares of

Biofrontera, excluding the shareholders’ subscription rights. Deutsche Balaton announced shortly

before the sale that it intended to distribute the shares among its various acquisition vehicles.

Deutsche Balaton and Axxion each acquired one million shares of Biofrontera, and DELPHI

acquired the remainder of the purchased shares. At Biofrontera’s 2016 and 2017 Annual General

Meetings, Zours and Axxion – who was represented at the meetings by Gregor Zours – voted

identically on each item at each of these meetings. Because Defendants have acted as a group for

the purpose of acquiring, holding, and/or voting securities of Biofrontera, they as a group are

deemed a “person” under Section 13(d).

       35.     As a result of the U.S. IPO and on a continuing basis thereafter, the group

comprising Deutsche Balaton, Zours, DELPHI, ABC, VVB and Axxion has beneficially owned

more than 5% of the outstanding shares of Biofrontera. Nevertheless, Deutsche Balaton, Zours,

DELPHI, ABC, VVB, and Axxion have failed to file a beneficial ownership report on Schedule

13D, despite being informed of their obligation by Biofrontera in correspondence dated March 14,

2018 and despite, upon information and belief, acting as a group to acquire, hold, and/or vote

Biofrontera’s shares for the purpose or effect of changing or influencing control of Biofrontera.

       36.     Even if Defendants did not acquire or hold Biofrontera’s shares with the purpose

or intent of changing or influencing control of Biofrontera at the time of the U.S. IPO, they would

have been required to file a Schedule 13D within 10 days after they acquired beneficial ownership




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of an additional 2% or more of Biofrontera’s shares following completion of Biofrontera’s U.S.

IPO.

       Deutsche Balaton Conducts A Tender Offer in Violation of Section 5 of the 33 Act

         37.    Deutsche Balaton continued its illegal conduct by launching an illegal tender offer

on May 28, 2018. Specifically, Deutsche Balaton directed DB Biotech to publicly announce and

launch a tender offer for Biofrontera’s shares. DB Biotech made the offer documents available on

Deutsche Balaton’s website. All holders of ADSs in the United States are able to access, receive,

review, and participate in the tender offer. As part of the public offer, DB Biotech offered to

purchase up to 6,250,000 Biofrontera shares in exchange for per-share consideration consisting of

one euro plus an option entitling the holder thereof to purchase a Biofrontera share for the price of

one euro. The option offered by DB Biotech is a complex security that, combined with the one

euro consideration, has the effect of separating the voting power of tendered Biofrontera shares

from exposure to the economic value of those shares.

         38.    Upon information and belief, the offer documents were drafted to allow for

participation by U.S. investors. DB Biotech took no measures to prevent U.S. investors from being

able to access the offer documents, which were published on Deutsche Balaton’s website.

Moreover, under German law, all of Biofrontera’s shareholders, wherever located, must be

permitted to participate in the offer.

         39.    In addition, NASDAQ rules require Biofrontera to disclose promptly to the U.S.

market the receipt of any tender offer for its listed shares; NASDAQ’s preferred method for this

disclosure is a press release. Biofrontera disclosed the receipt of the tender offer via a press release,

as required. Upon information and belief, as a sophisticated institutional investor, Zours knew of

these publicity requirements, and used them to force Biofrontera to indirectly publicize the

existence of the tender offer in the United States.

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       40.     Under Section 5 of the 33 Act, unless a registration statement is in effect as to a

security or an exemption is available, it is unlawful for any person, directly or indirectly, to make

use of any means or instruments of interstate commerce in order to sell or offer for sale such

security. Investors in the U.S. should not be called upon to make a decision to exchange their

Biofrontera shares for the complex option publicly offered by DB Biotech without the benefit of

complete disclosures that would be required to be included in a registration statement under the 33

Act and related SEC rules.

       41.     Although DB Biotech’s tender offer constitutes a public offering of the options

forming part of the tender offer consideration in the U.S., DB Biotech has taken no action to

register such options with the SEC.

       42.     No exemption from Section 5’s registration requirements are available to DB

Biotech because: (a) DB Biotech is required under German law to accept tender from all holders

of its shares, including holders of ADSs, wherever they are located and regardless of whether they

qualify as “accredited investors” as defined under applicable SEC rules and regulations; and (b)

DB Biotech has taken no measures to prevent U.S. investors, including non-accredited investors,

from accessing the offer materials available on its website.

       43.     Because DB Biotech has not registered with the SEC the options comprising part

of the tender offer consideration and because no exemption from registration will be available, the

tender offer violates Section 5 of the 33 Act.

       44.     In addition, upon information and belief, Deutsche Balaton and Zours each

purchased additional shares of Biofrontera after public announcements by Deutsche Balaton and

DB Biotech of their tender offers, which is in direct violation of Rule 14e-5 of the 34 Act, which

states “… no covered person may directly or indirectly purchase or arrange to purchase any subject



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securities or any related securities except as part of the tender offer.” Deutsche Balaton and Zours

are clearly in violation of Rule 14e-5 as they are covered persons under the definition.

  Deutsche Balaton Made Its False and Defamatory Statements Regarding Biofrontera in
       Connection with Its Tender Offers in Violation of Section 14(e) of the 34 Act

       45.     Section 14(e) of the 34 Act makes it unlawful to make any untrue or misleading

statement of material fact or to engage in any fraudulent, deceptive or manipulative acts or

practices in connection with any tender offer. By publishing their false and defamatory statements

regarding the competency of Biofrontera and its officers and directors and the legality of their

actions, Deutsche Balaton and Zours made misleading and untrue statements of material fact and

engaged in deceptive and manipulative acts and practices in connection with the tender offer by

DB Biotech.

       46.     Deutsche Balaton and Zours knowingly or recklessly made false and misleading

defamatory statements regarding the competency of Biofrontera and its officers and directors and

the legality of their actions in connection with DB Biotech’s tender offer. Deutsche Balaton and

Zours’ statements were material because reasonable Biofrontera investors, in deciding whether to

purchase, hold, tender, or sell Biofrontera shares, would have considered it important whether

Biofrontera’s officers and directors are competent and running Biofrontera in compliance with

relevant laws and regulations and whether the statements were made as part of an attempt by

Deutsche Balaton and Zours to seize control of Biofrontera.

       47.     These false and misleading defamatory statements were also deceptive and

manipulative acts made in connection with the tender offer. Deutsche Balaton and Zours’

statements were deceptive because they defame the competency of Biofrontera and its officers and

directors, without disclosing that the intent of Deutsche Balaton and Zours in making those

statements was to make DB Biotech’s tender offer more appealing as an alternative to maintaining


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the current management of Biofrontera.          Deutsche Balaton and Zours’ statements were

manipulative because they, upon information and belief, negatively impacted Biofrontera’s share

price during the tender offer period, thereby making DB Biotech’s tender offer more appealing,

and the price that DB Biotech must pay for Biofrontera’s shares less than it otherwise would have

been required to pay in the tender offer.

                     Count I – Libel (Against Deutsche Balaton and Zours)

        48.     Biofrontera repeats and realleges Paragraphs 1 – 47 as if fully set forth herein.

        49.     Zours and Deutsche Balaton’s February 6, 2018 and May 28, 2018 publicly issued

letters contain multiple written defamatory statements concerning Biofrontera which were

available to all on the Internet, including prospective investors in Biofrontera’s shares by virtue of

being published on Deutsche Balaton’s website.

        50.     The statements made in these publicly issued letters were false and misleading and,

upon information and belief, Zours and Deutsche Balaton acted negligently and/or with actual

knowledge or with reckless disregard to the falsity of such statements.

        51.     The statements caused economic harm to Biofrontera by interfering with and

obstructing its U.S. IPO and by diverting management’s attention from its business and operations,

and causing unnecessary legal and administrative costs and expenses and, in any event, are per se

actionable because they tend to disparage Biofrontera and its officers and directors in their

respective office or profession and impugn the basic integrity and competence of Biofrontera and

its officers and directors.

                 Count II – Trade Libel (Against Deutsche Balaton and Zours)

        52.     Biofrontera repeats and realleges Paragraphs 1 – 51 as if fully set forth herein.

        53.     By publicly issuing the February 6, 2018 and May 28, 2018 letters, Zours and

Deutsche Balaton knowingly published false and derogatory facts about Biofrontera’s business

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that, based on their timing and content, were calculated to try to prevent prospective investors from

properly assessing Biofrontera and its business during the U.S. road show and U.S. IPO. Zours

and Deutsche Balaton’s false and misleading defamatory statements caused injuries to

Biofrontera’s prospective business opportunities because those statements negatively impacted

Biofrontera’s reputation as a responsible and well-run company.

     Count III – Tortious Interference with Prospective Business Opportunity (Against
                               Deutsche Balaton and Zours)

       54.     Biofrontera repeats and realleges Paragraphs 1 – 53 as if fully set forth hereby.

       55.     Zours and Deutsche Balaton knew that in February 2018, Biofrontera was

conducting a U.S. road show and soliciting prospective investors in the U.S. to support its U.S.

IPO. Zours and Deutsche Balaton intentionally interfered with Biofrontera’s relationship with

existing and potential investors and others with whom they do business by publishing the false and

misleading and defamatory statements on Deutsche Balaton’s website in their February 6, 2018

and May 28, 2018 letters.

       56.     Zours and Deutsche Balaton acted out of malice in so doing and used dishonest and

unfair means to disrupt the relationship between Biofrontera and its existing and potential investors

and others with whom they do business.

       57.     Zours and Deutsche Balaton’s false and misleading defamatory statements caused

injuries to Biofrontera’s prospective business opportunities because those statements negatively

impacted Biofrontera’s reputation as a responsible and well-run company.

               Count IV – Violation of Section 13(d) of the 34 Act and
 SEC Rules Promulgated Thereunder (Against Deutsche Balaton, DELPHI, ABC, Zours,
                                   and Axxion)

       58.     Biofrontera repeats and realleges paragraphs 1 – 57 as if fully set forth herein.




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        59.     By virtue of their beneficial ownership of more than 5% of Biofrontera’s shares and

their acquisition since the U.S. IPO of beneficial ownership of an additional 2% or more of

Biofrontera’s shares, Zours and Deutsche Balaton were required to file with the SEC a beneficial

ownership report on Schedule 13D with the SEC and willfully failed to do so, notwithstanding

their notice thereof.

        60.     Upon information and belief, at the time of the U.S. IPO, Zours, DELPHI, ABC,

VVB, and Deutsche Balaton had agreed with Axxion to form a group for the purpose of acquiring,

holding, and/or voting shares of Biofrontera. Zours, DELPHI, ABC, VVB and Deutsche Balaton

together held beneficial ownership of more than 5% of Biofrontera’s shares for a purpose or effect

of changing or influencing control of Biofrontera. As a result, Zours, DELPHI, ABC, VVB,

Deutsche Balaton, and Axxion were required to file a beneficial ownership report on Schedule

13D with the SEC within 10 days after they acquired 2% of the shares of Biofrontera after the U.S.

IPO. Defendants have failed to a Schedule 13D despite this obligation.

        61.     Zours, Deutsche Balaton, DELPHI, ABC, VVB, and Axxion are obligated to

correct their violations of law by immediately filing with the SEC an accurate beneficial ownership

report on Schedule 13D. Further, in order to prevent Zours, DELPHI, Deutsche Balaton, ABC,

VVB and Axxion from benefitting from their violation of Section 13(d) of the 34 Act, the Court

should enter an order barring, Defendants and their affiliates from voting any of the shares

controlled or beneficially owned by them, whether directly or indirectly, acquiring any shares, or

taking other steps to acquire any shares or otherwise change or influence control of Biofrontera,

until their beneficial ownership report on Schedule 13D is filed with the SEC and a further six

months have elapsed. Absent such relief, Defendants and their affiliates could join with other

shareholders to attempt to take over, change, or influence control of Biofrontera, change



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management or take other actions after actively concealing information required to be disclosed to

the public under Section 13(d) of the 34 Act. Section 13(d) entitles the Biofrontera shareholders

and other investors and potential investors to complete and accurate information before acquiring,

selling, casting a vote or otherwise making investment decisions with respect to its shares, and

sufficient time for Biofrontera to review, and respond to any such Schedule 13D filing. There is

no adequate remedy at law.

 Count V – Violation of Section 14(e) of the 34 Act and SEC Rule 14e-5 (Against Deutsche
                                   Balaton and Zours)

       62.     Biofrontera repeats and realleges Paragraph 1 – 61 as if fully set forth herein.

       63.     SEC Rule 14e-5(a) of the 34 Act, promulgated under Section 14(e) of the 34 Act,

makes it unlawful for covered persons “to directly or indirectly purchase or arrange to purchase

any subject securities or any related securities except as part of the tender offer.” The “prohibition

applies from the time of public announcement of the tender offer until the tender offer expires.”

17 C.F.R. § 140.14e-5(a). A “covered person” includes the tender offeror, its control persons, and

any person acting, directly or indirectly, in concert with the offeror or its affiliates. 17 C.F.R. §§

240.12b-2, 240.14e-5(c)(3).

       64.     Upon information and belief, Deutsche Balaton and Zours each purchased

additional shares of Biofrontera after public announcements by Deutsche Balaton and DB Biotech

of their tender offers for Biofrontera’s shares and before the expiration of the tender offer.

Deutsche Balaton and Zours are covered persons under Rule 14e-5(a) as control persons of offeror

DB Biotech, and as a result their share purchases during the period of the tender offers violated

Rule 14e-5.

       65.     As a result, Deutsche Balaton and Zours violated Rule 14e-5(a). This Court should

enjoin Deutsche Balaton and Zours and their affiliates from purchasing any additional Biofrontera


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shares or voting any shares that they purchased during the tender offers for a period of six months

to prevent them from benefitting from their violation of Rule 14e-5(a). There is no adequate

remedy at law.

 Count VI – Violation of Section 14(e) of the 34 Act (Against Deutsche Balaton and Zours)

       66.       Biofrontera repeats and realleges Paragraph 1 – 65 as if fully set forth herein.

       67.       Section 14(e) of the 34 Act makes it “unlawful for any person to make any untrue

statement of a material fact or omit to state any material fact necessary in order to make the

statements made, in light of the circumstances under which they are made, not misleading or to

engage in any fraudulent, deceptive, or manipulative acts or practices, in connection with any

tender offer.”

       68.       By publishing their false and defamatory statements regarding the competency of

Biofrontera and its officers and directors and the legality of their actions, Deutsche Balaton and

Zours made misleading and untrue statements of material fact and engaged in deceptive and

manipulative acts and practices in connection with the tender offer by DB Biotech.

       69.       Deutsche Balaton and Zours’ false and misleading defamatory statements regarding

the competency of Biofrontera and its officers and directors and the legality of their actions were

made in connection with DB Biotech’s tender offer. Deutsche Balaton and Zours knowingly or

recklessly made these statements. These false and misleading defamatory statements were

material because reasonable Biofrontera investors, in deciding whether to purchase, hold, tender,

or sell Biofrontera shares, would have considered it important whether Biofrontera’s officers and

directors are competent and conducting the business and operations of Biofrontera in compliance

with applicable laws and regulations and whether the statements were made as part of an attempt

by Deutsche Balaton and Zours to seize control of Biofrontera.



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       70.     These false and misleading defamatory statements were also deceptive and

manipulative acts made in connection with the tender offer. Deutsche Balaton and Zours’

statements were deceptive because they defame the competency of Biofrontera and its officers and

directors, without disclosing that the intent of Deutsche Balaton and Zours in making those

statements was to make DB Biotech’s tender offer more appealing as an alternative to maintaining

the current management of Biofrontera.         Deutsche Balaton and Zours’ statements were

manipulative because they, upon information and belief, negatively impacted Biofrontera’s share

price during the tender offer period, making DB Biotech’s tender offer more appealing, and the

price that DB Biotech must pay for Biofrontera’s shares less than it otherwise would have been

required to pay in the tender offer.

       71.     Zours and Deutsche Balaton’s false and misleading defamatory statements caused

injuries to Biofrontera because those statements, upon information and belief, negatively impacted

Biofrontera’s share price.

       72.     This Court should enjoin Deutsche Balaton and Zours and their affiliates from

purchasing any additional Biofrontera shares or voting any shares that they purchased during the

tender offers for a period of six months to prevent them from benefitting from their violation of

Section 14(e). There is no adequate remedy at law.

  Count VII – Control Person Liability under Section 20(a) of the 34 Act (Against Zours)

       73.     Biofrontera repeats and realleges Paragraphs 1-65 as if fully set forth herein.

       74.     Under Section 20(a) of the 34 Act, [e]very person who, directly or indirectly,

controls any person liable under any provision of this title or any rule or regulation thereunder

shall also be liable jointly and severally with and to the same extent as such controlled person to

any person to whom such controlled person is liable.” To plead a prima facie case of Section 20(a)



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liability, a plaintiff must also plead facts demonstrating that the controlling person knew or should

have known that the controlled person was engaging in violations of U.S. securities laws.

       75.      Counts IV, V, and VI allege underlying primary violations by Deutsche Balaton of

Section 13 and Section 14 of the 34 Act and the underlying regulations.

       76.      Upon information and belief, including public filings in Germany on May 27, 2016,

Zours controls Deutsche Balaton by virtue of ownership of securities. Upon information and

belief, by virtue of share ownership, Zours possesses actual power and influence over Deutsche

Balaton, including the ability to cause Deutsche Balaton to make or omit to make securities filings

and other documents necessary to comply with U.S. law.

       77.      Upon information and belief, Zours knew or should have known of the securities

law violations set forth in Counts IV, V, and VI by virtue of (i) his close knowledge and

participation in the management and affairs of Deutsche Balaton, (ii) his awareness of the

disclosure and filing requirements of U.S. Securities law, and (iii) a March 14, 2018

correspondence sent by Biofrontera reminding Deutsche Balaton of its obligations under Section

13 of the 34 Act.

       WHEREFORE, Biofrontera prays for a judgment against Defendants Deutsche Balaton,

DELPHI, VVB, Zours, DB Biotech, ABC, and Axxion as follows:

             a) awarding compensatory damages in an amount determined at trial;

             b) awarding punitive damages in an amount to be determined at trial;

             c) declaring that Deutsche Balaton, DELPHI, ABC, VVB, Zours, and Axxion violated

                Section 13(d) of the 34 Act on Count IV;




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   d) ordering pursuant to Count IV that Deutsche Balaton, Zours, DELPHI, ABC, VVB

      and Axxion and their respective officers, agents, servants, employees, and

      attorneys, and those persons in active concert or participation with them:

      (i)     immediately file with the SEC in accordance with Section 13 of the 34 Act

              a complete and accurate beneficial ownership report on Schedule 13D;

      (ii)    are enjoined from voting any of their shares, acquiring any shares or

              otherwise trying to acquire shares of or change or influence control of

              Biofrontera until six months after such complete and accurate Schedule

              13(d) is filed;

   e) declaring that Deutsche Balaton and Zours violated Section 14(e) of the 34 Act on

      Counts V and VI;

   f) ordering pursuant to Counts V and VI that Zours, Deutsche Balaton, DB Biotech

      and their officers, agents, servants, employees, and attorneys, and those persons in

      active concert or participation with them are enjoined from purchasing any

      additional Biofrontera shares or voting any shares that they purchased during the

      tender offer for a period of six months;

   g) awarding attorney’s fees and costs; and

   h) granting such other and further relief as the Court may deem just and proper.




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Dated: New York, New York
       June 11, 2018



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